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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF OKLAHOMA

Springdale OK SPE LLC, et al.,

                   Plaintiffs,

v.                                                Case No. CIV-21-543-PRW

Wehner Multifamily, LLC, et al.,

                   Defendants.


            JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiffs Springdale OK SPE LLC,

Summer Oaks Realty SPE LLC, and Bryan Hill SPE LLC and Defendants Wehner

Multifamily LLC and Wehner Construction Management, LLC, hereby stipulate to the

dismissal of Wehner Construction Management, LLC, from the above-entitled action

without prejudice to the future filing thereof.

         Submitted this 26th day of May, 2022.

                                           s/ Seth A. Day
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                                CERTIFICATE OF SERVICE

         I hereby certify that on this 26th day of May, 2022, the undersigned caused a true and

correct copy of the foregoing pleading to be served electronically on those parties requesting

electronic service via the Court’s ECF system.




                                                              s/ Seth A. Day




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